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                                                               U.S. DISTRICT COURT
                                                              DISTRICT OF VERMONT
                                                                      FILED
                 UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF VERMONT       2016 JUL 19 PH 3: 53
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VERMONT ALLIANCE FOR ETHICAL )                              ll.Y U}-W
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HEALTHCARE, INC.; CHRISTIAN    )                  EXHIBIT 1
MEDICAL & DENTAL ASSOCIATIONS, )
INC.,                          )                  Civil Action No.   5: l(o-c,v ..zos
                               )
             Plaintiffs,       )
                               )
      v.                                    )
                                          )
WILLIAM K. ROSER, in his official         )
capacity as Chair of the Vermont Board of )
Medical Practice; MICHAEL A. DREW,        )
M.D., ALLEN EVANS, FAISAL GILL,           )
ROBERT G. HAYWARD, M.D.,                  )
PATRICIAHUNTER,DAVIDA.                    )
JENKINS, RICHARD CLATTENBURG, )
M.D., LEO LECOURS, SARAH                  )
McCLAIN, CHRISTINE PAYNE, M.D., )
JOSHUA A. PLAVIN, M.D., HARVEY S. )
REICH, M.D., GARY BRENT BURGEE, )
M.D. MARGAS. SPROUL, M.D.,                )
RICHARD BERNSTEIN, M.D., DAVID )
LIEBOW, D.P.M., in their official         )
capacities as Members of the Vermont      )
Board of Medical Practice; JAMES C.       )
CONDOS, in his official capacity as       )
Secretary of State of Vermont; and COLIN )
R. BENJAMIN, in his official capacity as )
Director of the Office of Professional    )
Regulation,                               )
                                          )
                   Defendants.            )


                                  COMPLAINT


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      Plaintiffs, by and through their attorneys, Alliance Defending Freedom and

Michael J. Tierney, Esq., Wadleigh, Starr & Peters, PLLC, allege:

                                   INTRODUCTION


       1.      In spite of historical condemnations of physician involvement in

suicide, Vermont medical authorities have recently determined to force

conscientious doctors and other clinicians to counsel their patients for physician-

assisted suicide.

      2.       Although Act 39, the State of Vermont's assisted suicide bill, passed

with limited protections for conscientious physicians, Act 39 and a separate existing

mandate to counsel and refer for "all options" for palliative care have been construed

by State medical licensing authorities, including Defendants, to require all healthcare

professionals to counsel for assisted suicide.

      3.       Defendants, through the Vermont Department of Health, have adopted

this expansive reading of Act 39. Its FAQs on Act 39 includes:

      Do doctors have to tell patients about this option?

      Under Act 39 and the Patient's Bill of Rights, a patient has the right to
      be informed of all options for care and treatment in order to make a
      fully-informed choice. If a doctor is unwilling to inform a patient, he or
      she must make a referral or otherwise arrange for the patient to receive
      all relevant information.

      4.       Echoing this position, Cindy Bruzzese, Executive Director of the

Vermont Ethics Network, which is imbued by Defendants with authority to speak to


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the standard of care in Vermont, stated in a presentation on Act 39 that physicians

have a duty to inform patients of the availability of assisted suicide (Vermont's New

Normal: End-of-Life Care & Physician Aid in Dying, October 29, 2013).

      5.      This is nothing but the redefinition of "palliative care" to mean

providing assisted suicide, an intolerable position for Plaintiffs and other healthcare

professionals with conscientious objections to participating in this practice.

      6.      Plaintiffs, state and national associations of conscientious healthcare

professionals whose personal religious convictions and professional ethics oppose

the practice of assisted suicide, bring this action on behalf of their members against

the operation of Act 39 to force them to counsel and/or refer for the practice.

                         I.    IDENTIFICATION OF THE PARTIES


      7.      Plaintiff VERMONT ALLIANCE FOR ETHICAL HEALTH CARE,

INC. (V AEH) is a Vermont domestic nonprofit corporation.                VAEH is a

membership organization comprised of State-licensed physicians, nurses,

pharmacists and other healthcare professionals who are opposed to the practice of

physician assisted suicide. VAEH came together in February 2003 in an effort to

support expansion and improvement in end-of-life care and to oppose the

legalization of physician-assisted suicide in Vermont.

      8.      VAEH's members include Vermont-licensed physicians, including

Rachel DiSanto, M.D. and Brian Kilpatrick, M.D. as well as members from a


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number of allied healthcare professions, including nurses such as Lynne Caulfield,

pharmacists, physician assistants and other healthcare professionals.

      9.      VAEH sues on behalf of its members within the State of Vermont and

others similarly situated.

       10.    Plaintiff CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS,

INC. (CMDA) is an incorporated nonprofit Tennessee organization of Christian
                                '
physicians and allied healthcare professionals with over 16,000 members nationally

and dozens of members in Vermont. CMDA's members include Vermont-licensed

physicians, including Rachel DiSanto, M.D. and Brian Kilpatrick, M.D. as well as

associate members from a number of allied healthcare professions, including nurses

and physician assistants.

       11.    CMDA sues on behalf of its Vermont members as well as those

similarly situated.

       12.    Among CMDA's purposes is opposition to the practice of physician

assisted suicide as contrary to Scripture, respect for the sanctity of human life, and

traditional, historical and Judeo-Christian medical ethics. Christian Medical's

members are committed to the sanctity of human life and it would violate their

consciences to participate in or refer for physician assisted suicide.




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      13.    It is likely that if CMDA's members are forced to inform patients of

their right to physician assisted suicide in violation of their consciences, they would

leave the profession or relocate from the State of Vermont.

      14.    Rachel DiSanto, M.D. is a licensed family physician who practices in

Newport, Vermont. Dr. DiSanto is a member of both VAEH and CMDA. Dr.

DiSanto regularly sees patients from all walks oflife, including those suffering from

"terminal conditions," and thus is required by Defendant Members of the Vermont

Board of Medical Ethics to counsel and/or or refer for assisted suicide or otherwise

be required to assist with the practice under Act 39.

      15.    Brian Kilpatrick, M.D. is a licensed internal medicine/pediatric

physician who practices in West Pawlet, Vermont. Dr. Kilpatrick is a member of

both VAEH and CMDA. Dr. Kilpatrick regularly sees patients from all walks of

life, including those suffering from "terminal conditions," and thus is required by

Defendant Members of the Vermont Board of Medical Ethics to counsel and/or or

refer for assisted suicide or otherwise be required to assist with the practice under

Act 39.

      16.    Plaintiff members regularly sees patients from all walks of life,

including those suffering from "terminal conditions," and thus are required by

Defendant Members of the Vermont Board of Medical Ethics to counsel and/or or

refer for assisted suicide under Act 39.


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       17.   Lynn Caulfield, R.N., is a registered hospice nurse who practices

throughout northern Vermont. Ms. Caulfield is a member of VAEH. She regularly

sees patients from all walks of life, including those suffering from "terminal

conditions," and thus is required by Defendants JAMES C. CONDOS and COLIN

R. BENJAMIN to counsel and/or or refer for assisted suicide under Act 39.

       18.   Plaintiff members include a licensed pharmacist who regularly sees

patients from all walks oflife, including those suffering from "terminal conditions,"

and thus is required by Defendants JAMES C. CONDOS and COLIN R.

BENJAMIN to dispense lethal medications and/or counsel and/or or refer for

assisted suicide under Act 39.

       19.   Defendant WILLIAM K. ROSER is the Chair of the Vermont Board of

Medical Practice, which is charged under Vermont statute with regulatory authority

over licensed allopathic healthcare professionals including physicians and physician

assistants. The Board has authority to hear complaints and charge physicians and

physician assistants with non-compliant care and to impose sanctions. Mr. Roser is

sued in his official capacity.

      20.    Defendants MICHAEL A. DREW, M.D., ALLEN EVANS, FAISAL

GILL, ROBERT G. HAYWARD, M.D., PATRICIA HUNTER, DAVID A.

JENKINS, RICHARD CLATTENBURG, M.D., LEO LECOURS, SARAH

McCLAIN, CHRISTINE PAYNE, M.D., JOSHUA A. PLAVIN, M.D., HARVEY


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S. REICH, M.D., GARY BRENT BURGEE, M.D., MARGA S. SPROUL, M.D.,

RICHARD BERNSTEIN, M.D., and DAVID LIEBOW, D.P.M. are members of the

Vermont Board of Medical Practice, which is charged under Vermont statute with

regulatory authority over licensed allopathic healthcare professionals including

physicians and physician assistants. These Defendants are sued in their official

capacity.

       21.     Defendant JAMES C. CONDOS is the Secretary of State of Vermont,

and in that capacity is charged under Vermont statute with regulatory authority over

licensed nurses, osteopaths and other health professionals. Mr. Condos is sued in

his official capacity.

       22.     Defendant COLIN R. BENJAMIN is the Director of the Office of

Professional Regulation, a division of the Secretary of State charged by the Secretary

of State with regulatory authority over licensed nurses, osteopaths and other health

professionals. The Office of Professional Regulation has authority to receive and

investigate complaints and charge healthcare professionals with non-compliant care

and to impose sanctions. Mr. Benjamin is sued in his official capacity.

                             II. JURISDICTION AND VENUE

       23.     This action arises under the Constitution and laws of the United States

and the Constitution and laws of the State of Vermont. The Court has subject matter

jurisdiction pursuant to the Civil Rights Act, 42 U.S.C. § 1983, 28 U.S.C. § 1331


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(federal question) and 28 U.S.C. § 1367 (supplemental jurisdiction over state law

claims), and jurisdiction to render declaratory and injunctive reliefunder 28 U.S.C.

§§ 2201 & 2202 and Fed. R. Civ. P. 65, and to award reasonable attorney's fees and

costs under the Civil Rights Act, 42 U.S.C. § 1988.

       24.   Venue lies in this district pursuant to 28 U.S.C. § 1391(e). No real

property is involved in this action, and Plaintiffs' members reside in this district.

                             III. FACTUAL ALLEGATIONS

       25.    For 2500 years the medical profession has forbidden doctors from

giving patients lethal drugs. Society has relied on this prohibition and has trusted

physicians to be healers when that is possible, and to provide comfort when healing

is no longer possible.

       26.   In the last 30 years, hospice and palliative care organizations within

medicine and in the community have sought and promoted greater control over the

physical, psychological, social and spiritual distresses that so often affect individuals

approaching death and their families. The common goal is life with dignity until

natural death occurs.

       27.   This commitment has historically been embodied in the Hippocratic

Oath, versions of which members of the profession take upon entering it and which

the United States Supreme Court in Roe v. Wade called "the apex of the development




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of strict ethical concepts in medicine" and "the nucleus of all medical ethics." 410

U.S. 110, 131-32 (1973).

       28.   Various versions of the Oath have been employed, but virtually all of

them have included the statement, "I will not give a lethal drug to anyone if I am

asked, nor will I advise such a plan .... "   See "Greek Medicine," available at

https://www.nlm.nih.gov/hmd/greek/greek_oath.html (last visited June 14, 2016).

      29.    Respect for conscientious objection to taking life has been stated since

at least Roe v. Wade in 1973, in which the Supreme Court quoted the AMA House

of Delegates resolution that "[N]o physician or other professional personnel shall be

compelled to perform any act which violates his good medical judgment. Neither

physician, hospital, nor hospital personnel shall be required to perform any act

violative of personally-held moral principles." 410 U.S. at 144-45 n38.

      30.    This two-fold basis for ethical practice- "good medical judgment" and

acts "violative of personally-held moral principles" has been under attack from time

to time, in spite of existing federal appropriations protections for conscientious

providers on the books beginning in the 1970s, such as the "Church Amendments"

(42                      U.S.C.                      §§                       300a-7

(b); 300a-7(c); 300a-7(d); 300a-7(e)) and the Weldon Amendment (Sec. 507(d) of

Title V of Division H (Departments of Labor, Health and Human Services, and




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Education, and Related Agencies Appropriations Act) of the Consolidated

Appropriations Act, 2016, Pub. L. No. 114-113).

      31.    42 U.S.C. § 300a-7(d) of the Church Amendments provides:

      Individual rights respecting certain requirements contrary to
      religious beliefs or moral convictions. No individual shall be required
      to perform or assist in the performance of any part of a health service
      program or research activity funded in whole or in part under a program
      administered by the Secretary of Health and Human Services if his
      performance or assistance in the performance of such part of such
      program or activity would be contrary to his religious beliefs or moral
      convictions.

      32.    Upon information and belief, the Vermont Board of Medical Practice

and the Office of Professional Regulation, and/or the employers of individual

members of Plaintiffs, receive funding from the Secretary of Health and Human

Services that is subject to the non-discrimination requirements of Section 300a-7(d)

of the Church Amendments.

      33.     Numerous members of Plaintiff organizations are employed by, or

contract with, health service programs or research activities funded in whole or in

part by HHS, and thus subject to the proscriptions of the Church Amendment.

       34.   When the U.S. Supreme Court took up the issue of whether there exists

a "fundamental right" to physician assisted suicide, it surveyed "the ancient and

extensive history of colonial and state prohibitions on suicide and assisted suicide,"

Washington v. Glucksberg, 521 U.S. 702, 711-16 (1997), and noted that despite

changing technology and societal attitudes toward medical self-determination, there
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had been no modem trend toward recognition of such a right.             "Though deeply

rooted, the states' assisted-suicide bans have in recent years been reexamined and,

generally, reaffirmed," the Court noted. 521 U.S. at 722; see also Vacco v. Quill,

521 U.S. 793 (1997).

      35.     The Supreme Court in Glucksberg agreed with the American Medical

Association    ("AMA")      that   "physician-assisted   suicide   is    fundamentally

incompatible with the physician's role as healer." !d. at 731 (quoting AMA, Code

ofEthics § 2.211 (1994)).

      36.     Since 2010, federal law has included a prohibition against

discrimination for refusal to participate in physician assisted suicide through the

Patient Protection and Affordable Care Act of2010 (ACA). This prohibition states:

      The Federal Government, and any State or local government or health
      care provider that receives Federal financial assistance under this Act
      ... may not subject an individual or institutional health care entity to
      discrimination on the basis that the entity does not provide any health
      care item or service furnished for the purpose of causing, or for the
      purpose of assisting in causing, the death of any individual, such as by
      assisted suicide, euthanasia, or mercy killing.

Pub.L. 111-148, Title I,§ 1553, Mar. 23, 2010, 124 Stat. 259, codified at 42 U.S.C.

§ 18113(a).

      37.     This provision became effective March 23,2010, and applies to entities

including agencies of State government that receive federal financial assistance

under the ACA statute, including Defendants herein.


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       38.      The ACA defines the term "health care entity" to include "an individual

physician or other health care professional, a hospital, a provider-sponsored

organization, a health maintenance organization, a health insurance plan, or any

other kind of health care facility, organization, or plan." 42 U.S.C. § 18113(b). This

includes all Vermont members of Plaintiff organizations named herein who are duly

licensed healthcare professionals and all those similarly situated with them.

       39.      On May 20,2013, the Governor ofVermont signed Act 39, the "Patient

Choice At End Of Life Act," into law, and the operative portions of the Act became

effective on July 1, 2013.

      40.      Act 39 originally included a sunset mechanism on the operative

provisions that was set for July 1, 2016, but the sunset provisions were repealed last

year. 18 V.S.A. §§ 5289,5290 repealed by 2015, No. 27, § 1(b), eff. May 20,2015.

      41.      By virtue of Act 39, as interpreted by Defendants, Vermont has become

the fourth State (after Oregon, Washington, and California) to legalize assisted

suicide, but the first to mandate that all health care professionals participate in the

practice.

      42.      Under Act 39, a physician may, without incurring civil or criminal

liability or professional disciplinary action, prescribe a life-ending dosage for

patients suffering from a "terminal condition," defined in the statute to mean "an

incurable and irreversible disease which would, within reasonable medical


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judgment, result in death within six months."         18 V.S.A. § 5283 (limitation of

liability); 18 V.S.A. § 5281(10) (definition); 18 V.S.A. § 5283(a)(5). Cf 42 U.S.C.

§ 1395y(a)(1)(C) (exclusions from coverage) (incorporating the definition of

"terminal condition" that initiates eligibility for hospice care).

      43.    However, nothing in Act 39 limits civil or criminal liability for

"misconduct" that is intentional. 18 V.S.A. § 5283(b).           Defendants and court

officials construe this to include conscientious refusals to participate in assisted

suicide as the Act and associated statutes require.

      44.    Act 39 applies broadly to require that every patient has the right to be

informed of all "options" regarding terminal care in all cases of a diagnosed

"terminal condition", regardless of the purpose of the inquiry. 18 V.S.A. § 5282

provides:

      The rights of a patient under section 1871 of this title to be informed of
      all available options related to terminal care and under 12 V.S.A. §
      1909(d) to receive answers to any specific question about the
      foreseeable risks and benefits of medication without the physician's
      withholding any requested information exist regardless of the purpose
      of the inquiry or the nature of the information.

      45.    18 V.S.A. § 1871, enacted in 2009, is the "Patient's Bill of Rights for

Palliative Care and Pain Management." It provides that "A patient has the right to

be informed of all evidence-based options for care and treatment, including palliative

care, in order to make a fully informed patient choice." 18 V.S.A § 1871(a). This



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includes all persons with terminal illnesses and all persons with chronic pain. 18

V.S.A. § 187l(b), (c).

      46.     Section 1871 also includes a "pediatric patient with a serious or life-

limiting illness or condition .... " 18 V.S.A. § 187l(e).

      47.     12 V.S.A. § 1909 limits civil liability based on lack of informed

consent, which it defines to mean the failure to disclose to the patient alternatives

thereto and the reasonably foreseeable risks and benefits involved or a failure to

disclose "a reasonable answer to any specific question about foreseeable risks and

benefits." 12 V.S.A. § 1909(a)(l), (a)(l)(d).

      48.    Act 39 purports to relieve conscientious physicians such as Plaintiffs'

members of any legal, moral or ethical culpability for participating in the act of

assisted suicide by providing:

      A physician who engages in discussions with a patient related to such
      risks and benefits in the circumstances described in this chapter shall
      not be construed to be assisting in or contributing to a patient's
      independent decision to self-administer a lethal dose of medication, and
      such discussions shall not be used to establish civil or criminal liability
      or professional disciplinary action.

18 V.S.A. § 5282. However, this provision does not absolve physicians of liability

for failing or refusing to discuss assisted suicide as their own consciences direct (i.e.,

failing or refusing to follow Act 39), nor can it absolve them of moral or ethical

culpability for doing so.



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      49.      Although Section 5285 of the Act ostensibly provides a limitation on

liability, stating that physicians, nurses, pharmacists, or other persons shall not be

under any duty "to participate in the provision of a lethal dose of medication to a

patient," that limitation is narrow and on its face only applies to the actual provision

of the lethal dose. 18 V.S.A. § 5285(a).

      50.      Act 39 does not limit liability for civil damages resulting from negligent

conduct or intentional misconduct, which could result from a conscientious failure

or refusal to adhere to the counseling mandate imposed by Act 39. 18 V.S.A. §

5285(c).

      51.      Further, Act 39 strongly implies the mandatory participation of other

health care professionals in the assisted suicide process besides the attending

physician. The statute requires the referral of the patient to a second physician "for

medical confirmation of the diagnosis, prognosis, and a determination that the

patient was capable, was acting voluntarily, and had made an informed decision."

18 V.S.A. § 5283(7).

      52.       Nothing in the Act limits liability for regulatory action or civil or

criminal action for a conscientious failure or refusal to accept such a referral.

      53.      The statute also allows, but does not require, the physician to refer the

patient for an evaluation by a psychiatrist, psychologist, or clinical social worker




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licensed in Vermont for confirmation that the patient was capable and did not have

impairedjudgment. 18 V.S.A. § 5283(8).

      54.        Nothing in the Act limits liability for regulatory action or civil or

criminal action for a conscientious failure or refusal to accept such a referral.

      55.       The statute further provides that "If applicable, the physician consulted

with the patient's primary care physician with the patient's consent." 18 V.S.A. §

5283(9).

      56.       Nothing in the Act limits liability for regulatory action or civil or

criminal action for a conscientious failure or refusal to participate in such a

consultation.

      57.       Under Act 39, the physician may either dispense the lethal dose directly

if he or she is licensed to do so, or through a pharmacist, who is required by the Act

to dispense the lethal dose "to the patient, the physician, or an expressly identified

agent of the patient." 18 V.S.A. § 5283(13).

      58.       Nothing in the Act limits liability for regulatory action or civil or

criminal action for a conscientious failure or refusal to dispense the lethal dose.

      59.       Although the Act purports not to conflict with the Affordable Care Act,

see 18 V.S.A. § 5292 (statutory construction), it clearly does so by mandating

participation in many aspects of counseling for assisted suicide.




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      60.    Beyond "participation" in the actual provision of the lethal dose, Act

39 provides open-ended liability for conscientious objectors, and offers no respect

for the position that physician assisted suicide is not medically appropriate and no

requirement for psychiatric/counseling assistance - in spite of the fact that the

overwhelming number of patients who seek assisted suicide determine not to go

through with it when counseled about palliative care and support mechanisms.

      61.    The Defendants' interpretation and enforcement of Act 39 and its

associated statutes are imposing substantial burdens on Plaintiffs' members and

causing them serious, ongoing hardship.

      62.    The statements required of Plaintiffs' members by Act 39 are

"ideological" because they require physicians and others to counsel and/or refer for

assisted suicide as "palliative care" in all cases in which 6-month "terminal"

diagnosis has been provided, making two essential determinations for healthcare

providers which they have to make on behalf of their patients: 1) the medical

determination that assisted suicide is indicated for all diagnoses of "terminal"

condition; and 2) the ethical determination that assisted suicide is morally

appropriate for all diagnoses for "terminal" condition.        Plaintiffs' members

strenuously disagree with both statements as a matter of medical practice and as a

matter of medical ethics.




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      63.     The provisions of Act 39 require Plaintiffs' members to promote the

State's views that physician assisted suicide is indicated in all instances of"terminal

conditions" and force them to counsel patients for physician assisted suicide in

violation of the right of conscience, and threaten them with professional, civil and

criminal consequences for holding opposing views.

      64.    The terms and provisions of Act 39 are vague and ambiguous, in that

no reasonable health care professional in Plaintiffs' members' positions could

understand the meaning of terms such as "terminal condition," "irreversible disease"

and "all available options related to terminal care," and "foreseeable risks and

benefits of medication."

      65.    It is unclear how Act 39 should be read in conjunction with 12 V.S.A.

§ 1909 and 18 V.S.A. § 18711871, resulting in impermissible vagueness allowing

Defendants to require that all health care providers must counsel for assisted suicide

pursuant to Act 39, subjecting Plaintiffs' members to civil, criminal and professional

disciplinary action resulting in the potential deprivation of their livelihoods.

                                     COUNT I
                            First Amendment Free Speech

      66.    Plaintiffs repeat and reallege each of the foregoing allegations in

paragraphs 1 through 65 of this Complaint.




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      67.    The acts and/or omissions of Defendants and those acting under and

through them have deprived Plaintiffs' members of their right not to speak the

State's message on the subject of assisted suicide.

      68.    The acts and/or omissions of Defendants and those acting under and

through them constitute content- and viewpoint-based discrimination against

Plaintiffs' views and those of their members.

      69.    Plaintiffs' members have no adequate remedy at law.

      70.    Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

      71.    Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief holding that Act 39, as construed by Defendants, is

invalid facially and as-applied to Plaintiffs' members and those similarly situated

with them, and restraining Defendants from taking actions to enforce Act 39, 12

V.S.A. § 1909 or 18 V.S.A. § 1871.

                                    COUNT II
                           First Amendment Free Exercise

      72.    Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.

      73.    Plaintiff CMDA's members, and a substantial number of Plaintiff

VAEH's members, are informed in their conscientious and ethical beliefs about

assisted suicide by sincerely held religious beliefs.
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      74.    Act 39, as construed and administered by Defendants, implicates

multiple fundamental rights protected by the First Amendment to the U.S.

Constitution, including the right to refrain from speaking and the right to religious

liberty. As such, it infringes on "hybrid rights" in violation of the First Amendment

and must be justified by a strict scrutiny standard.

      75.    Act 39, as administered by Defendants, imposes a substantial burden

on Plaintiffs' members' religious beliefs. The Act forces Plaintiffs' members to

choose between their livelihoods and obedience to government commands that

violate their religious conscience, and operates to compel statements and actions that

are in contravention of their religious faiths.

      76.    Defendants cannot justify this burden by demonstrating a compelling

need for the imposition or that other means less intrusive upon Plaintiffs' members'

beliefs are not available to Defendants.

      77.      Plaintiffs' members have no adequate remedy at law.

      78.    Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

      79.    Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief restraining Defendants from taking actions to enforce

Act 39, 12 V.S.A. § 1909 or 18 V.S.A. § 1871 against them and all those similarly




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situated by virtue of being religious adherents, in situations involving so-called

"terminal conditions."

                                   COUNT III
                    Federal Fourteenth Amendment Due Process Claim

      80.    Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.

      81.    The terms and provisions of Act 38 are unconstitutionally vague and

ambiguous, and subject Plaintiffs' members to civil, criminal and professional

disciplinary action resulting in the potential deprivation of their livelihoods.

      82.    The terms and provisions of Act 39 are vague and ambiguous, in that

no reasonable health care professional in Plaintiffs' members' positions could

understand the meaning of terms such as "terminal condition," "irreversible disease"

and "all available options related to terminal care," and "foreseeable risks and

benefits of medication."

      83.    It is unclear how Act 39 should be read in conjunction with 12 V.S.A.

§ 1909 and 18 V.S.A. § 18711871, resulting in impermissible vagueness allowing

Defendants to require that all health care providers must counsel for assisted suicide

pursuant to Act 39, subjecting Plaintiffs' members to civil, criminal and professional

disciplinary action resulting in the potential deprivation of their livelihoods.

      84.    Plaintiffs' members have no adequate remedy at law.



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       85.   Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

       86.   Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief holding that Act 39, as construed by Defendants, is

invalid facially and as-applied to Plaintiffs' members and those similarly situated

with them, and restraining Defendants from taking actions to enforce Act 39, 12

V.S.A. § 1909 or 18 V.S.A. § 1871.

                                   COUNT IV
                      42 U.S.C. § 1983/Federal Church Amendment

       87.   Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.

       88.   The terms ofthe Church Amendment, 42 U.S.C. § 300a-7(d), prohibit

Defendants from requiring Plaintiffs' members to perform or assist in the

performance (including referral for counseling) of assisted suicide in any part of a

health service program or research activity funded in whole or in part by federal

HHS.

       89.   On information and belief, Defendants themselves are employed by or

contract with, and/or their positions funded by, health service programs or research

activities funded in whole or in part by HHS, and thus subject to the proscriptions of

the Church Amendment.



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      90.     Numerous members of Plaintiff organizations are employed by, or

contract with, health service programs or research activities funded in whole or in

part by HHS, and thus subject to the proscriptions of the Church Amendment.

      91.    42 U.S.C. § 1983 permits Plaintiffs to sue on behalf of their members

to prohibit Defendants from engaging in conduct under color of State law, in this

case Act 39 and their authority under applicable Vermont statues to engage in

professional disciplinary action.

      92.    Plaintiffs' members have no adequate remedy at law.

      93.    Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

      94.    Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief holding that Act 39, as construed by Defendants, is

invalid facially and as-applied to Plaintiffs' members and those similarly situated

with them, and restraining Defendants from taking actions to enforce Act 39, 12

V.S.A. § 1909 or 18 V.S.A. § 1871.

                                     COUNTV
                     42 U.S.C. § 1983/Federal PPACA Statute

      95.    Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.

      96.    The terms of the Affordable Care Act, 42 U.S.C. § 18113(a), prohibit

officers of State government or health care providers that receive Federal financial

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assistance under the Affordable Care Act to subject individual or institutional health

care entities to discrimination on the basis that they do not provide any health care

item or service furnished for the purpose of causing, or for the purpose of assisting

in causing (including for referral for counseling), the death of any individual, such

as by assisted suicide.

      97.     By reading Act 39 in conjunction with 12 V.S.A. § 1909 and 18 V.S.A.

§ 1871 to require that all health care providers must counsel for assisted suicide

pursuant to Act 39, Defendants subject Plaintiffs' members to civil, criminal and

professional disciplinary action resulting in the potential deprivation of their

livelihoods and thereby violate 42 U.S.C. § 18113(a).

      98.    42 U.S.C. § 1983 permits Plaintiffs to sue on behalf of their members

to prohibit Defendants from engaging in conduct under color of State law, in this

case Act 39 and their authority under applicable Vermont statues to engage in

professional disciplinary action.

      99.    Plaintiffs' members have no adequate remedy at law.

      100. Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

      101. Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief restraining Defendants from taking actions to enforce




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Act 39, 12 V.S.A. § 1909 or 18 V.S.A. § 1871 on them and all those similarly

situated, in situations involving so-called "terminal conditions."

                                   COUNT VI
                   Vermont Constitution- Chapter I, Article 13
                 Supplemental State First Amendment Free Speech Claim

       102. Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.

       103. The statements required of Plaintiffs' members by Act 39 are

"ideological" because they require physicians and others to counsel and/or refer for

assisted suicide as "palliative care" in all cases in which a six-month "terminal"

diagnosis has been provided, making two essential determinations for healthcare

providers which they have to make on behalf of their patients: 1) the medical

determination that assisted suicide is indicated for all diagnoses of "terminal"

condition; and 2) the ethical determination that assisted suicide is morally

appropriate for all diagnoses for "terminal" condition.          Plaintiffs' members

strenuously disagree with both statements as a matter of medical practice and as a

matter of medical ethics.

      104. The acts and/or omissions of Defendants and those acting under and

through them have deprived Plaintiffs' members and all others similarly situated of

their right not to speak the State's message on the subject of assisted suicide.




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      105.     By threatening Plaintiffs' members with professional, civil and

criminal consequences for holding opposing views, the provisions of Act 39, as

construed by Defendants, constitute content- and viewpoint-based discrimination

against Plaintiffs' views and those of their members.

       106. Plaintiffs' members have no adequate remedy at law.

       107. Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

       108.    Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief restraining Defendants from taking actions to enforce

Act 39, 12 V.S.A. § 1909 or 18 V.S.A. § 1871.

                                   COUNT VII
                     Vermont Constitution- Chapter I, Article 3
                    Supplemental State Free Exercise of Religion Claim

       109.   Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.

       110. The Vermont Constitution prohibits the state government or any

instrumentality thereof from substantially burdening any individual's exercise of

religion, even if that that burden results from a rule of general applicability, unless

the government can demonstrate that the burden furthers a compelling governmental

interest and is the least restrictive means of furthering that interest.




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       111. The Vermont Constitution likewise prohibits government from placing

unreasonable burdens on religious exercise.

       112. Act 39, as construed and administered by Defendants, Imposes a

substantial burden on Plaintiffs' members' religious beliefs.        The Act forces

Plaintiffs' members to choose between their livelihoods and obedience to

government commands that violate their religious conscience, and operates to

compel statements and actions that are in contravention of their religious faiths.

       113. Act 39, as construed and applied by Defendants, infringes on "hybrid

rights" in violation of Chapter I, Article 3 and must be justified by a strict scrutiny

standard.

       114. By causing this mandate to be enforced against Plaintiff, the Vermont

Defendants have and will continue to violate Chapter I, Article 3 of the Vermont

Constitution.

       115. Plaintiff has no adequate remedy at law.

       116. The Vermont Defendants are imposing ongoing and immediate harm

on Plaintiff.

                                COUNT VIII
                    Vermont Constitution- Chapter I, Article 1
                              Due Process Claim

       117. Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.


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       118. The terms and provisions of Act 39 are vague and ambiguous, in that

no reasonable health care professional in Plaintiffs' members' positions could

understand the meaning of terms such as "terminal condition," "irreversible disease"

and "all available options related to terminal care," and "foreseeable risks and

benefits of medication."

       119. By reading Act 39 in conjunction with 12 V.S.A. § 1909 and 18 V.S.A.

§ 18711871 to require that all health care providers must counsel for assisted suicide

pursuant to Act 39, in spite of the fact that the latter two provisions do not on their

face require Plaintiffs' members to do so, Defendants unconstitutionally subject

Plaintiffs' members to civil, criminal and professional disciplinary action resulting

in the potential deprivation of their livelihoods.

       120. Plaintiffs' members have no adequate remedy at law.

       121. Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

       122. Plaintiffs' members accordingly seek declaratory and preliminary and

permanent injunctive relief restraining Defendants from taking actions to enforce

Act 39, 12 V.S.A. § 1909 or 18 V.S.A. § 1871.

                                 COUNT IX
                V.S.A. 4711- Vermont State Declaratory Judgment Claim

      123. Plaintiffs repeat and reallege each of the foregoing allegations m

paragraphs 1 through 65 of this Complaint.
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       124. Act 39, and Defendants' interpretation of it, are in conflict with federal

law set forth in the Church Amendment, 42 U.S.C. § 300a-7(d), and the Patient

Protection and Affordable Care Act, 42 U.S.C. § 18113(a).

       125. Plaintiffs' members hav~ no adequate remedy at law.

       126. Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

       127. Plaintiffs are entitled to a declaratory judgment that Defendants may

not enforce Act 39, 12 V.S.A. § 1909 or 18 V.S.A. § 1871.

                                  COUNT X
        3 V.S.A. 801 et seq.- Vermont State Administrative Procedure Act Claim

       128. Plaintiffs repeat and reallege each of the foregoing allegations in

paragraphs 1 through 65 of this Complaint.

       129. Act 39, and Defendants' interpretation of it, are in conflict with federal

law set forth in the Church Amendment, 42 U.S.C. § 300a-7(d), and the Patient

Protection and Affordable Care Act, 42 U.S.C. § 18113(a).

       130. The Vermont State Administrative Procedure Act supplies claimants

such as Plaintiffs and their members with a cause of action to determine "the validity

or applicability of a rule," "if it is alleged that the rule, or its threatened application,

interferes with or impairs, or threatens to interfere with or impair, the legal rights or

privileges of the plaintiffls]," and a "declaratory judgment may be rendered whether



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or not the plaintiff has requested the agency to pass upon the validity or applicability

of the rule in question." 3 V.S.A .. § 807.

       131. The Defendants' application of Act 39, as pled hereinabove, interferes

with or impairs rights granted to Plaintiffs and their members under the Church

Amendment and the ACA, and thus a declaratory judgment may be rendered upon

the proper interpretation of the statute.

       132. Plaintiffs' members have no adequate remedy at law.

       133. Defendants are imposing ongoing and immediate harm on Plaintiffs'

members.

       134. Plaintiffs are entitled to a finding that Defendants may not enforce Act

39, 12 V.S.A. § 1909 or 18 V.S.A. § 1871 on them and all those similarly situated.

                WHEREFORE, Plaintiff respectfully prays that this Court:

       1.       Enter a declaratory judgment that Act 39, as construed by Defendants,

is facially overbroad, vague and ambiguous in violation of the First and Fourteenth

Amendments to the United States Constitution, as pled above, as well as the

applicable provisions of the Church Amendments and Affordable Care Act;

      2.        Enter a declaratory judgment that Act 39, as construed by Defendants,

violates the First and Fourteenth Amendments to the United States Constitution as

applied to Plaintiffs' members and others similarly situated;




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      3.       Enter a declaratory judgment that Act 39, as construed by Defendants,

facially violates Article I, Chapters 1 and 13 of the Vermont Constitution, as pled

above;

      4.       Enter a declaratory judgment that Act 39, as construed by Defendants,

violates the rights of Plaintiffs' members and others similarly situated under Article

I, Chapters 1 and 13 of the Vermont Constitution, as pled above;

      5.      Enter a declaratory judgment that Act 39, as construed by Defendants,

facially violates Plaintiffs' rights and those similarly situated with them under

Article I, Chapter 3 of the Vermont Constitution, as pled above;

      6.       Enter a declaratory judgment that Act 39, as construed by Defendants,

violates the applicable provisions of the Vermont Administrative Procedure Act, as

pled above.

      7.       Enter preliminary and permanent injunctive relief prohibiting

Defendants from applying the provisions of Act 39, and particularly Section 5282,

as well as 12 V.S.A. § 1909 or 18 V.S.A. § 1871, to initiate any civil or criminal

proceedings or disciplinary proceedings against Plaintiffs' members or others

similarly situated to them.

      8.       Award Plaintiffs attorneys and experts fees and costs under 42 U.S.C.

§ 1988 and 28 U.S.C. § 2412 and the Court's equitable powers, as well as analogous

Vermont statutes.


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  9.       A ward all other relief as the Court may deem just and proper.

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